Case 1:21-cr-00721-CKK Document 17-6 Filed 01/24/22 Page 1 of 5




EXHIBIT 7
        Case 1:21-cr-00721-CKK Document 17-6 Filed 01/24/22 Page 2 of 5




                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :

                      v.                      :            EDPA CASE NO. 21-mj-1805
                                                           D.D.C. CASE NO. 21-mj-0662
HOWARD CHARLES RICHARSON                      :




                              PRETRIAL DETENTION ORDER

              AND NOW, this 3rd day of December, 2021, after an evidentiary hearing and

argument of counsel for the government and the defendant, the Court finds that:

              (a)      The Court finds by clear and convincing evidence that defendant is a

                       danger to the community and that no condition, or combination of

                       conditions, could reasonably assure the safety of the community. This is

                       based on evidence of defendant’s violent behavior with aggravated assault

                       and threats with a firearm, and defendant’s violent attack on police

                       officers during the Capitol riot. Such a pattern of violence in three

                       separate and unrelated incidents establishes that defendant presents a

                       serious threat to the safety of community. His violent assault on police

                       and unlawful attempt to interfere with a session of Congress establishes an

                       inability to comply with the law and any conditions of supervision; and

              (b)      the government has proved by clear and convincing evidence that no

                       condition or combination of conditions will reasonably assure the safety of

                       any other person and the community.

              The Court makes the following findings of fact:
         Case 1:21-cr-00721-CKK Document 17-6 Filed 01/24/22 Page 3 of 5




               This case is appropriate for detention under Title 18, United States Code, Section

3142(e) because:

               1.      The offense charged is a crime of violence carrying serious penalties.

               2.      The weight of the evidence against the defendant is strong.

                       a. The incident that led to these charges was video-recorded and the

                           defendant’s conduct can be clearly seen and evaluated.

                       b. The defendant has admitted to federal law enforcement that he is the

                           individual in the recordings, and admitted that he used a metal pole to

                           strike a police officer.

               3.      The defendant’s history and characteristics, including his character, past

conduct, criminal history, and status on release for a different offense at the time of this offense,

demonstrate that he poses a risk of danger to the community and a risk of failing to appear as

required.

                       a. The defendant has a recent history of escalating violent behavior.

                       b. The defendant has a recent pattern of lying to law enforcement officers

                           about his behavior.

                       c. The defendant has a history of failing to abide by requirements

                           restricting his possession and use of firearms.

               4.      The total maximum statutory penalty is more than 25 years in custody, and

the defendant’s U.S. Sentencing Guidelines range produces an advisory sentencing range of

several years in custody, presenting a substantial incentive to flee.

               5.      There are no less restrictive conditions available that will assure the

defendant’s appearance as required and provide for the safety of the community.




                                                 -2-
         Case 1:21-cr-00721-CKK Document 17-6 Filed 01/24/22 Page 4 of 5




               Therefore, IT IS ORDERED that the defendant be committed to the custody of

the Attorney General for confinement in a correction facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal; that the

defendant be afforded reasonable opportunity for private consultation with counsel; and that, on

order of a Court of the United States, or on request of an attorney for the government, the person

in charge of the corrections facility in which the defendant is confined deliver the defendant to a

United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                              BY THE COURT:



                                              s/Timothy R. Rice
                                              HONORABLE TIMOTHY R. RICE
                                              United States Magistrate Judge




                                               -3-
Case 1:21-cr-00721-CKK Document 17-6 Filed 01/24/22 Page 5 of 5
